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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


       LENEXA 95 PARTNERS, LLC,                              )
                                                             )
                        PLAINTIFF,                           )
                                                             )
                           V.                                )            CASE NO. 20-CV-2367-JWB-ADM
                                                             )
       KIN, INC. F/K/A KOHL’S INC.,                          )
                                                             )
                           DEFENDANT.                        )


               DEFENDANT’S FINAL WITNESS AND EXHIBIT DISCLOSURES

         Pursuant to Rule 26(a)(3), Fed. R. Civ. P., and the Court’s Trial Scheduling Order,

Defendant Kin, Inc., f/k/a Kohl’s Inc. (“Kohl’s”) discloses the following witnesses that it may call

at trial. By disclosing such witnesses, Defendant does not waive, and hereby expressly reserves,

the right to object to testimony from such witnesses. Defendant further reserves the right to amend

this list of witnesses.1

    1. David Christie, Plaintiff Lenexa 95 Partners, LLC, 7217 W. 110th Street, Overland Park,

         Kansas: Mr. Christie is a Member and Manager of Plaintiff and may testify regarding

         alleged breach of the lease, and matters consistent with Plaintiff’s expert designation of

         Mr. Christie. (E)

    2. Allison Edwards, 7217 W. 110th Street, Overland Park, Kansas: Ms. Edwards is a current

         or former employee of Plaintiff and/or Christie Development Associates, and may testify

         regarding the premises at issue, procuring bids, communications with vendors or bidders,

         and related issues. (NA)


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  Per Rule 26(a)(3), witnesses that Kohl’s expects to present are denoted as “E” and witnesses that Kohl’s may call if
the need arises are denoted as “NA.”


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    3. Paul Baker, 7217 W. 110th Street, Overland Park, Kansas: Mr. Baker is a current or former

         employee of Plaintiff and/or Christie Development Associates, and may testify regarding

         the premises at issue, communications with potential purchasers or lessors, and related

         issues. (E)

    4. Ferdinand Niemann, formerly of Plaintiff Lenexa 95 Partners, LLC. Mr. Niemann may

         testify regarding the premises at issue, property conditions, communications with Mr.

         Christie and others affiliated with the Plaintiff regarding same, communications with

         Defendant regarding same, and related issues. (E)

    5. Amy English, Plaintiff Lenexa 95 Partners, LLC, 7217 W. 110 th Street, Overland Park,

         Kansas:       Ms. English is a current or former employee of Plaintiff and/or Christie

         Development Associates, and may testify regarding the premises at issue, procuring bids,

         communications with vendors or bidders, water remediation, and related issues. (E)

    6. Jeff Adam, Defendant Kohl’s, N56 W17000 Ridgewood Dr., Menomonee Falls, WI 53051:

         He may testify regarding the premises at issue, maintenance and service performed, repairs

         or replacements, the condition of the property, Plaintiff’s allegations of breach of lease and

         damages, the lease terms, communications with Plaintiff, and related matters. (E)

    7. Scott Schnuckel, Defendant Kohl’s, N56 W17000 Ridgewood Dr., Menomonee Falls, WI

         53051: He may testify regarding the premises at issue, maintenance and service performed,

         repairs or replacements, the condition of the property, Plaintiff’s allegations of breach of

         lease and damages, the lease terms, communications with Plaintiff, and related matters.

         (NA)

    8. Travis Miller, Miller Engineering, PC, 3827 S. Timbercreek Ave., Ste. A, Springfield,

         Missouri: Mr. Miller may testify, via deposition, regarding his inspection and assessment



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         of the premises, the condition of the property, recommended action items, communications

         with Plaintiff, and related matters. (E)

    9. Brandon Hendricks, Partner Engineering and Science, Inc., Charlotte, North Carolina: He

         may testify, via deposition, regarding the inspection and assessment of the premises, the

         condition of the property, maintenance and service performed, repairs or replacements,

         findings and opinions contained in the Partner Engineering report, communications with

         Plaintiff, and other matters consistent with his expert designation. (E)

    10. Michael Chang, Partner Engineering and Science, Inc., Charlotte, North Carolina: He may

         testify, via deposition, regarding the inspection and assessment of the premises, the

         condition of the property, maintenance and service performed, repairs or replacements,

         findings and opinions contained in the Partner Engineering report, communications with

         Plaintiff, and other matters consistent with his expert designation. (E)

    11. Nick Shiltz and/or other representatives of Inside Edge Commercial Interior Services, 2700

         Blue Water Road, Suite 400, Eagan, MN: He may testify regarding the condition of the

         premises and flooring contained therein, maintenance and service performed, repairs or

         replacements, quotes or bids for same, and related matters. (NA)

    12. Matt Taylor and/or other representatives of L. Keeley Construction, 500 S. Ewing Avenue,

         Suite G, St. Louis, Missouri: He may testify regarding the condition of the premises and

         pavement, repairs or replacements, quotes or bids for same, and related matters. (NA)

    13. Thomas L. Rewerts, PE, SE, 1023 Jefferson, Suite 200, Kansas City, Missouri: He may

         testify and present expert testimony and opinions consistent with his expert report. (E)

    14. Alan Lankford, PE, LEED AP, 1730 Walnut Street, Kansas City, Missouri: He may testify

         and present expert testimony and opinions consistent with his expert report. (E)



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    15. Brandon Ladwig, Defendant Kohl’s, N56 W17000 Ridgewood Dr., Menomonee Falls, WI

         53051: He may testify regarding the premises at issue, maintenance and service performed,

         repairs or replacements, the condition of the property, Plaintiff’s allegations of breach of

         lease and damages, the lease terms, communications with Plaintiff, and related matters.

         (NA)

    16. Mark Griepentrog, Defendant Kohl’s, N56 W17000 Ridgewood Dr., Menomonee Falls,

         WI 53051: He may testify regarding the premises at issue, communications with Plaintiff,

         and related matters. (NA)

    17. Dan Kazmierczak, Defendant Kohl’s, N56 W17000 Ridgewood Dr., Menomonee Falls,

         WI 53051: He may testify regarding the premises at issue, maintenance and service

         performed, repairs or replacements, the condition of the property, Plaintiff’s allegations of

         breach of lease and damages, the lease terms, communications with Plaintiff, and related

         matters. (NA)

    18. Katie Lauterbach, Defendant Kohl’s, N56 W17000 Ridgewood Dr., Menomonee Falls, WI

         53051: He may testify regarding the premises at issue, maintenance and service performed,

         repairs or replacements, the condition of the property, Plaintiff’s allegations of breach of

         lease and damages, the lease terms, communications with Plaintiff, and related matters.

         (NA)

    19. Corporate Representative of Midwest Coating, Inc. (including Adam Hoffman), 3830 NW

         16th Street, Topeka, Kansas: May testify regarding bid/quotation, communications with

         Plaintiff, and related issues. (NA)




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    20. Corporate Representative of Jeff Hoge Concrete, LLC (including Jeff Hoge), 6884 W.

         183rd Street, Stillwell, Kansas: May testify regarding bid/quotation, communications with

         Plaintiff, and related issues. (NA)

    21. Corporate Representative of Buck Roofing & Construction LLC (including Matt Varley),

         1122 Merriam Lane, Kansas City, Kansas:           May testify regarding bid/quotation,

         communications with Plaintiff, and related issues. (NA)

    22. Corporate Representative of CentiMark Corporation (including Pete Cannizzaro), 14752

         W. 107th Street, Lenexa, Kansas: May testify regarding bid/quotation, communications

         with Plaintiff, and related issues. (NA)

    23. Corporate Representative of Max Rieke & Brothers, Inc., 15400 Midland Drive, Shawnee,

         Kansas: May testify regarding bid/quotation, communications with Plaintiff, and related

         issues. (NA)

    24. Corporate Representative of Artistic Floorcoverings, Inc. (including Madison Christie),

         13605 West 109th Street, Lenexa, Kansas:          May testify regarding bid/quotation,

         communications with Plaintiff, and related issues. (NA)

    25. Corporate Representative of Kruse Corporation (including Al Wright), 3636 N. Topeka,

         Wichita, Kansas: May testify regarding bid/quotation, communications with Plaintiff, and

         related issues. (NA)

    26. Corporate Representative of Wil-Pav, Inc.: May testify regarding bid/quotation,

         communications with Plaintiff, and related issues. (NA)

    27. Corporate Representative of Kansas Asphalt, Inc.: May testify regarding bid/quotation,

         communications with Plaintiff, and related issues. (NA)




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    28. Corporate Representative of Updike Paving Corporation:               May testify regarding

         bid/quotation, communications with Plaintiff, and related issues. (NA)

    29. Corporate Representative of Cates Service Company Heating and Cooling: May testify

         regarding bid/quotation, inspection of HVAC units, communications with Plaintiff, and

         related issues. (NA)

    30. Corporate Representative of Little Joe’s Concrete: May testify regarding bid/quotation,

         communications with Plaintiff, and related issues. (NA)

    31. Witnesses necessary for foundation, impeachment, rebuttal or sur-rebuttal.

         In addition, Defendant Kohl’s discloses the following list of exhibits that it may offer into

evidence at trial. By disclosing such exhibits, Defendant does not waive, and hereby expressly

reserves, the right to object to the admissibility of any exhibit identified on any exhibit list.

Defendant further reserves the right to utilize portions or excerpts of exhibits identified herein (to

be labeled as sub-exhibits (e.g.—Ex. 1A)). Defendant further reserves the right to amend this list

of exhibits:

 Description of Exhibit                           Ref.                        Expect to
                                                                              offer
 Lease Agreement 8-12-1994                        Christie Depo. 19           E


 Jack Werner CV                                   Jack Werner Depo. 1         E


 A to Z Commercial Inspections Invoice            Cord Werner Depo. 3
 dated 10-16-2020

 A to Z Inspections Invoice dated 2-18-21         Cord Werner Depo. 4


 A to Z list of documents                         Cord and Jack Werner
                                                  Depo. 5




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 Description of Exhibit                    Ref.                      Expect to
                                                                     offer
 Seal-O-Matic bids and records             8 page Seal-O-Matic
                                           production

 Wil-Pave bid and records                  Wil-Pave document
                                           production

 Updike Paving bid and records             Updike document
                                           production

 Schefer Roofing records                   Schefer document
                                           production

 Lennox bid and records                    Lennox document
                                           production

 W. Cord Werner CV                         Cord Werner Depo. 9

 Michael Skeens CV                         Skeens Depo. 10


 Skeens Consulting Services 11-1-2020      Skeens Depo. 11
 Proposal

 Aerial photographs of premises            Rewerts file              E


 December 2020 photographs of premises     Rewerts report, figures   E
                                           1-45




 1-24-2006 As Built Drawings               Rewerts                   E




 1-24-2006 Civil Plans                     Rewerts                   E




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 Description of Exhibit                      Ref.                   Expect to
                                                                    offer
 Skeens Consulting Services Invoice dated    Skeens Depo. 14
 2-25-2021

 12-16-20202 Little Joe’s Asphalt bid


 Contract for Purchase of Real Estate        Niemann Depo. 1        E
 between TIC Lenexa and Christie
 Development dated 11-8-2017

 First Amendment to Contract for Purchase    Niemann Depo. 3        E
 of Real Estate Between TIC Lenexa and
 Christie Development dated 2-6-2018

 Gladfelter Invoice 11-15-2020               Gladfelter Depo. 18

 Gladfelter Invoice 2-25-2021                Gladfelter Depo. 19

 Greg Gladfelter handwritten notes           Gladfelter Depo. 25

 Integra Realty Resources Appraisal Report   Niemann Depo. 2        E
 dated 7-1-2016

 ASHRAE Equipment Life Expectancy            Gladfelter Depo. 27
 Chart

 ASHRAE Technical FAQ                        Gladfelter Depo. 28

 ASHRAE Owning and Operating Cost            Gladfelter Depo. 29
 Database – Cost Survey

 Skeens Consulting Services Invoice dated    Skeens Depo. 30
 12-1-2020

 Rewerts’ Expert Report                      Rewerts Depo. 32

 Rewerts’ CV                                 Excerpt from Rewerts   E
                                             report

 Rewerts’ list of documents reviewed         Excerpt from Rewerts   E
                                             report

 Rewerts fee schedule                        Excerpt from Rewerts   E
                                             report


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 Description of Exhibit                      Ref.                  Expect to
                                                                   offer
 Lankford’s Expert Report                    Lankford Depo. 33

 Lankford’s CV                               Excerpt from report   E

 Lankford’s list of documents reviewed       Excerpt from report   E

 9-8-2020 photographs of premises (HVAC)     Lankford report       E

 ASHRAE equipment life expectancy chart      Lankford report

 ASHRAE Journal article “Determining         Lankford report
 Equipment Service Life”

 February 2020 Emails between English and    English Depo. 34      E
 Cannizzaro (Centimark) re Roof Bid, and
 Centimark bid

 2-11-2020 Jeff Hoge Concrete, LLC written   English Depo. 35
 proposal

 2-14-2020 Jeff Hoge Concrete, LLC           English Depo. 36
 proposal for Soil Stabilization by Seal-O
 Matic Paving Company

 10-30-2019 Email between Ferdinand          English Depo. 7;
 Niemann and Scott Schnuckel re Tree         Niemann Depo. 7
 Removal due to Visibility Issues

 6-23-2020 HVAC Inspection                   English Depo. 38;     E
                                             Plaintiff 0330-0339

 9-15-2020 Cates Service Company “Budget     English Depo. 39
 Bid” for HVAC

 9-15-2020 Cates Service Company             English Depo. 40
 “Equipment Bid” for HVAC

 9-18-2020 Kruse Corporation Roof Top        English Depo. 41
 Unit Replacement Bid

 4-24-2020 Artistic Floorcovering, Inc.      English Depo. 42
 Flooring Estimate




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 Description of Exhibit                      Ref.               Expect to
                                                                offer
 4-2-2021 Email between Dorinda Spencer      English Depo. 43
 and David Christie re flooring bid

 1-2-2018 Miller Engineering Report          Miller Depo. 1

 1-2-2018 Order for Commercial SI and        Miller Depo. 2
 BEC Inspection

 10-27-2020 Email between Scott Sala and     English Depo. 46   E
 Amy English re JCB Tree Service Proposal

 Photos (Miller)                             Miller Depo. 3

 Photos (Miller)                             Miller Depo. 4

 10-22-2018 Miller Engineering Report        Miller Depo. 5

 Partner Engineering Site Photos             Miller Depo. 6

 JCB Tree Service Invoice dated 11-4-2020    English Depo. 51   E

 10-30-2018 email Kazmierczak (Kohl’s)       DMG production     E
 and Christie Development re tree removal

 7-30-2019 email Kazmierczak (Kohl’s) and    DMG production     E
 Christie Development re graffiti and tree
 removal

 November 2017 emails re US Pavement         DMG production     E
 paper invoices for work completed

 Recorded Assignment of Lease                Adam Depo. 53

 Assignment and Assumption of Lease          Adam Depo. 54

 Aerial Photos (Johnson County AIMS)         Adam Depo. 55      E

 1-23-2007 Project Certificate for Payment   Adam Depo. 56      E

 3-13-2006 Crane Construction/Temp-Con       Adam Depo. 57      E
 Subcontract HVAC

 8-31-2006 Alan Stevens Roof Inspection      Adam Depo. 58




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 Description of Exhibit                       Ref.                 Expect to
                                                                   offer
 2-21-2018 Secured Title--Purchaser’s         Niemann Depo. 4      E
 Settlement Statement


 Divisions Service Agreement 4-1-2019         DMG production       E

 Divisions Inspection 1-3-2018                DMG production       E

 Divisions Inspection 8-27-2018               KIN002911-2912       E

 Divisions Inspection 11-1-2018               KIN002924-2925       E

 Divisions Inspection 12-6-2018               DMG production       E

 Divisions Inspection 1-13-2019               KIN002913-2914       E

 Divisions Inspection 2-12-2019               DMG production       E

 Divisions Inspection 3-20-2019               Adam Depo. 63;       E
                                              (KIN002921)

 Divisions Inspection 7-18-2019               KIN002915-2917       E

 11-26-2019 Email Ladwig to Kazmierczak       Adam Depo. 65
 forwarding Partner Report

 6-12-2020 Email from Nick Odrochta to        Adam Depo. 66;
 Jeff Adams re Overview of Work by Kohl’s     KIN002057

 6-12-2020 Service Channel Excerpt            KIN002058            E

 11-19-2019 Partner Engineering Property      Chang and Henricks
 Condition Report                             Depo. 1

 10-29-2019 Partner Engineering proposal      Chang and Henricks   E
 for services, and authorization to proceed   Depo. 12

 9-15-2015 O’Donnell asphalt bid              L. Keeley document
                                              production

 2015-2016 site development plan              L. Keeley document   E
                                              production

 10-18-2018 Parking Lot L. Keeley             Adam Depo. 69;       E
                                              KIN002930


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 Description of Exhibit                       Ref.                   Expect to
                                                                     offer
 10-18-2018 L. Keeley photos and              KIN 002908-2934        E
 documentation

 10-18-2018 email re Keeley asphalt paving    L. Keeley production   E
 bid

 April 2020 L. Keeley photographs             L. Keeley production   E

 11-10-2020 Encore Pavement bid               L. Keeley production

 11-21-2019 Letter from Christie              Niemann Depo. 9
 Development to Scott Schnuckel re: Partner
 Engineering Report

 4-1-2020 Email Schnuckel to Ladwig re        Adam Depo. 71
 reviewing bids

 4-8-2020 Email and proposal from L.          Adam Depo. 72
 Keeley

 1-17-2-20 Email English to Schnuckel re      Adam Depo. 73
 water in building

 1-2019 Email between Vince Johnston          Baker Depo. 1
 (Hunt Midwest) and Paul Baker

 2-2019 Email between Paul Baker and          Baker Depo. 2
 Tiffany Ruzicka (Open Area) with Property
 Assessment Report by Miller Engineering

 3-2019 Email between Paul Baker and Eric     Baker Depo. 3
 Walesh with Property Assessment Report
 by Miller Engineering

 5-16-2019 Email from Paul Baker to           Baker Depo. 4
 Morgan Randis) (Sportsmans Warehouse)
 with flyer re Villa West Shopping Center
 and Kohl’s information

 7-2019 Emails between Paul Baker,            Baker Depo. 5
 Andrew Fain and Michael Block re Kohl’s
 Showing

 6-3-2014 Shaw Integrated Solutions Invoice   Adam Depo. 79



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 Description of Exhibit                     Ref.                Expect to
                                                                offer
 6-23-2014 Inside Edge Invoice              Adam Depo. 80

 6-23-2014 Inside Edge Invoice              Adam Depo. 81

 January – February 2020 Emails re Water    Adam Depo. 82
 Damage and Tiles

 February – March 2020 Emails re Tile       Adam Depo. 83

 12-28-2020 Inside Edge Quote               Adam Depo. 84

 12-28-2020 Inside Edge Quote #2            Adam Depo. 85

 1-23-2020 Email Scott Schnuckel to David   Adam Depo. 87
 Christie re review of list of items

 5-6-2020 Email between Mark Griepentrog    Adam Depo. 89
 and Jeff Adam

 5-11-2020 Email between Sarah Ryan and     Adam Depo. 90
 Duggan re Griepentrog

 6-10-2020 Email Griepentrog to Adam and    Adam Depo. 91
 6-4-2020 letter Christie to Griepentrog

 1-15-2020 Roof Connect report              Adam Depo. 92

 Partner Engineering PCA Pre-Survey         Niemann Depo. 11    E
 Questionnaire

 1-2020 Email Dan Pridon and Amy English    Adam Depo. 94
 re Roof Leak

 8-2-2006 Carlisle Golden Seal Total        Adam Depo. 95       E
 Roofing System Warranty

 Carlisle warranty claims/history           Carlisle document   E
                                            production

 Roof Connect work order and invoice to     Adam Depo. 97       E
 patch tear in membrane--11-15-2013

 Roof Connect work order and invoice to     Adam Depo. 98       E
 patch roof leak-- 11-17-2015



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 Description of Exhibit                        Ref.                    Expect to
                                                                       offer
 Roof Connect work order and invoice to        Adam Depo. 99           E
 make permanent repair to previous
 temporary repair-- 12-8-2015

 Midwest Coating Roofing Proposal dated 2-     Niemann Depo. 14
 6-2020

 Roof Connect work order and invoice to        Adam Depo. 102          E
 patch holes--3-30-2017

 Roof Connect work order for new TPO           Adam Depo. 103          E
 tread pads under gas lines -- 4-24-2017

 RoofConnect Invoice #243271 3-2-2020          Adam Depo. 104          E

 4-2-2020 Email Erin Williams (Roof            Adam Depo. 105          E
 Connect) and Kristen Burczyk re Roof
 Repairs

 Roof Connect records                          KIN002132-2133;         E
                                               2871-2901; 3051-3059;

 1-8-2020 Email Scott Schnuckel and            Adam Depo. 108          E
 Allison Edwards re JCB Tree Service
 Proposal

 12-11-2018 Invoice ACS/Evergreen Air          Adam Depo. 113          E
 Conditioning

 Notice of Remote Video Rule 30(b)(6)          Christie Depo. 16
 Deposition of Plaintiff Lenexa 95 Partners,
 LLC

 11-27-2019 Invoice ACS/Evergreen Air          Adam Depo. 116          E
 Conditioning

 1-14-2020 Invoice ACS/Evergreen Air           Adam Depo. 117          E
 Conditioning

 ACS records, invoices and photos              KIN002964-3049          E

 ACS records, invoices, and photos             ACS 0001-175            E




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 Description of Exhibit                     Ref.                Expect to
                                                                offer
 April 2020 Email Adam/Ladwig/ Schnuckel    Adam Depo. 118
 re: 4-22-2020 letter from Lenexa 95’s
 Counsel and L. Keeley Proposal

 Service Channel excerpt--pavement          Adam Depo. 119      E

 Service Channel excerpt--roof              Adam Depo. 120      E

 Service Channel excerpt--HVAC              Adam Depo. 121      E

 Petition for Damages                       Christie Depo. 17   E

 Plaintiff’s Disclosure of Experts          Christie Depo. 18

 Kohl’s store floor plan                    KIN 002959

 2-2018 Loan Agreement: Lenexa 95 and       Christie Depo. 21   E
 Great Southern Bank

 2-21-2018 Mortgage, Assignment, Security   Christie Depo. 22   E
 Agreement and Fixture Filing

 Macfarlan Retail Fund Case Studies         Christie Depo. 23   E

 January-February 2020 Emails between       Christie Depo. 26
 Scott Schnuckel, David Christie, et al.

 3-6-2020 Letter from David Christie        Christie Depo. 27
 (Lenexa 95) to Scott Schnuckel re
 pavement

 11-21-2019 Letter from David Christie to   Christie Depo. 28
 Scott Schnuckel dated re: Partner
 Engineering Report

 4-1-2020 Email David Christie to Scott     Christie Depo. 30
 Schnuckel re: no grace will be shown
 Kohl’s

 2-13-2020 Buck Roofing Proposal and        Christie Depo. 33
 letter

 Jeff Hoge Concrete Proposal dated 2-11-    Christie Depo. 35
 2020



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 Description of Exhibit                         Ref.                    Expect to
                                                                        offer
 Jeff Hoge Concrete/Seal-O-Matic Proposal       Christie Depo. 36
 for Soil Stabilization dated 2-14-2020

 Max Rieke & Bros. Proposal dated 3-6-          Christie Depo. 37
 2020

 Plaintiff’s Rule 26(a) disclosures

 Plaintiff’s First Amended Rule 26(a)
 disclosures

 Plaintiff’s Second Amended Rule 26(a)
 disclosures

 Plaintiff’s Responses to Defendant’s First
 Request for Documents

 Plaintiff’s Responses to Defendant’s
 Second Request for Documents

 Plaintiff’s Responses to Defendant’s First
 Interrogatories

 Plaintiff’s Responses to Defendant’s           Christie Depo. 44
 Second Interrogatories

 Plaintiff’s (Second) Amended Responses to      Christie Depo. 45
 Defendant’s First Interrogatories (4-2-2021)

 Plaintiff’s (First) Amended Responses to
 Defendant’s First Interrogatories (11-4-
 2021)

 6-12-2019 JV Protection Fire Alarm System      Christie Depo. 47       E
 Inspection Report

 1-4-2018 Email between Larson, Macfarlan       Christie Depo. 24       E
 and Amit Kalushar re: Kohl’s Lease

 9-8-2014 Update of Notice Letter from          Kohl’s MSJ, Excerpted
 Kohl’s to TIC Lenexa                           Ex. 1

 4-22-2020 Letter from Plaintiff’s counsel to   Kohl’s MSJ, Ex. 10
 Kohl’s



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 Description of Exhibit                         Ref.                  Expect to
                                                                      offer
 1-15-2019 Letter from Kohl’s to Lenexa 95      Pl’s opposition to    E
 re non-renewal of lease                        Kohl’s MSJ, Ex. 3

 11-22-2019 Letter from Kohl’s to Lenexa        Pl’s opposition to    E
 95 re waiver of right of first refusal         Kohl’s MSJ, Ex. 5

 6-24-2020 Letter from Sarah Ryan (Kohl’s)      Pl’s opposition to
 to Plaintiff’s counsel                         Kohl’s MSJ Ex. 24

 11-8-2017 Letter from Kohl’s re waiver of      KIN000421-422         E
 right of first refusal

 1-6-2018 Miller Engineering narrative          Plaintiff 0132-137
 report

 12-16-2019 email David Christie to Scott       Plaintiff 0228
 Schnuckel re items to discuss before lease
 expiration

 1-24-2020 email Scott Schnuckel to David       Plaintiff 0769-770
 Christie re cost for completion of work

 January-February 2020 emails between           Plaintiff 0683-689
 Kohl’s and Plaintiff re leak and remediation

 2-11-2020 Kansas Asphalt mill and overlay      KIN 000561-562
 bid

 2-7-2020 Kansas Asphalt concrete bid           KIN 000569-570

 6-23-2020 Cates invoice and                    Cates production
 recommendations

 9-15-2020 email Amy English and Kruse          Kruse production
 Corporation re HVAC

 8-19-2020 email Amy English and                Plaintiff 0765-768
 Lankford

 9-16-2020 JCB tree service proposal            Plaintiff 1778-1784

 October 2020 email between Plaintiff and       Plaintiff 1785-1788
 City regarding tree removal




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 Description of Exhibit                      Ref.                  Expect to
                                                                   offer
 November 2020 email between Plaintiff and   Plaintiff 1789-1797
 City regarding tree removal

 Kohl’s Service Channel spreadsheet                                E

 3-3-2006 AIA Construction contract          KIN003141-3228        E

 2006 Change Orders/Pay Applications         KIN003229-3302        E

 December 2020 video of premises                                   E

 December 2020 photographs of premises                             E

 June 2021 video of premises                                       E

 June 2021 photographs of premises                                 E

 7-30-2021 Letter from David Christie to     Pl’s opposition to
 Kohl’s re Notice of Default                 Kohl’s MSJ, Ex. 26

 8-13-2021 Letter from Bush to Duggan

 8-19-2021 Letter from Duggan to Bush

 8-20-2021 Letter from Bush to Duggan

 10-6-2021 Letter from Bush to Duggan

 10-11-2021 Letter from Duggan to Bush

 11-11-2021 Letter from Bush to Duggan

 12-1-2021 Letter from Duggan to Bush

 12-8-2021 Letter from Bush to Duggan

 12-23-2021 Letter from Duggan to Bush

 1-25-2019 email Paul Baker (Lenexa 95)      Plaintiff 0696-0702
 and Vince Johnston re sale or lease

 4-26-2019 Colaw letter of intent offer      Plaintiff 0649-0653

 5-14-2020 QuickTrip settlement statement    Plaintiff 0637-0640



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 Description of Exhibit                         Ref.                        Expect to
                                                                            offer
 5-14-2020 Reciprocal Easement Agreement        Plaintiff 0518-0550

 Demonstrative exhibits, enlargement of                                     E
 exhibits, and exhibits for rebuttal or sur-
 rebuttal




Dated: March 25, 2022

                                                       Respectfully submitted,

                                                       POLSINELLI PC

                                                       /s/ Jason L. Bush
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                                                       ATTORNEYS FOR DEFENDANT


                                  CERTIFICATE OF SERVICE

         I certify that on this 25th day of March 2022, the above and foregoing was electronically
filed with the Clerk of the Court using the CM/ECF system, which will send notification of such
filing to all counsel of record.

                                                       /s/ Jason L. Bush
                                                       ATTORNEY FOR DEFENDANT




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